              Case 2:10-cr-20057-PKH Document 274     Filed 04/18/13 Page 1 of 1 PageID #: 982



                                  IN THE UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF ARKANSAS
                                           FORT SMITH DIVISION

                UNITED STATES OF AMERICA                                           PLAINTIFF

                V.                          NO. 10CR20057-005

                URIEL LIRA-PEREZ                                                   DEFENDANT


                                                 O R D E R

                      On   this    18th   day   of   April   2013,   there    comes   on   for

                consideration the report and recommendation filed in this case

                on January 29, 2013, by the Honorable James R. Marschewski,

                United States Magistrate for the Western District of Arkansas.

                (Doc. 270).       Also before the Court are Defendant’s objections.

                (Doc. 271).

                      The Court has reviewed this case de novo and, being well

                and sufficiently advised, finds as follows:                  The report and

                recommendation is proper and should be and hereby is adopted in

                its entirety.      Accordingly, Defendant’s Motion to Vacate under

                28 U.S.C. § 2255 (Doc. 263) is DENIED AND DISMISSED WITH

                PREJUDICE.

                      IT IS SO ORDERED.

                                                      /s/ Robert T. Dawson
                                                      Honorable Robert T. Dawson
                                                      United States District Judge




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(Rev. 8/82)
